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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   JEFFREY L. STANIELS, Bar #91413
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
 6   Attorney for Defendant
     ROBERT E. ROSENAU
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   No. 2:10-cr-0210 WBS
                                        )
12                   Plaintiff,         )
                                        )   STIPULATION AND [PROPOSED] ORDER
13        v.                            )   VACATING DATE, CONTINUING CASE
                                        )   AND EXCLUDING TIME
14   ROBERT E. ROSENAU and              )
     DONNA m. ROSENAU,                  )
15                                      )   Date: November 1, 2010
                     Defendants.        )   Time: 8:30 a.m.
16                                      )   Judge: Hon. William B. Shubb
     _______________________________
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney Camil Skipper, Counsel for Plaintiff, and Assistant Federal
20   Defender Jeffrey L. Staniels, Counsel for Defendant, that the status
21   conference scheduled for November 1, 2010, be vacated and the case
22   continued until January 10, 2011, at 8:30 a.m. for further status
23   conference. This continuance is sought in light of Mr. Tedmon’s
24   substantial unavailability while in trial before Judge Shubb, and to
25   permit counsel for the defendants to conduct further defense
26   preparation including review of documentary evidence, consultation with
27   clients, consideration of motions, and investigation.
28        IT IS FURTHER STIPULATED that time for trial under the Speedy
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 1   Trial Act be excluded from the filing of this stipulation until January
 2   10, 2011, pursuant to 18 U.S.C. § 1361(h)(7)(A) & (B)(iv), Local code
 3   T-4, for defense preparation.
 4        IT IS SO STIPULATED.
 5
 6   Dated: October 27, 2010                    /S/ Camil Skipper
                                               Camil Skipper
 7                                             Assistant U.S. Attorney
                                               Counsel for Plaintiff
 8
 9   Dated: October 27, 2010                    /S/ Jeffrey L. Staniels
                                               JEFFREY L. STANIELS
10                                             Assistant Federal Defender
                                               Attorney for Defendant
11                                             ROBERT E. ROSENAU
12
     Dated: October 27, 2010                   /S/ Scott Tedmon
13                                             SCOTT TEDMON
                                               Attorney for Defendant
14                                             DONNA M. ROSENAU
15
16
                                          O R D E R
17
          IT IS SO ORDERED.
18
                             By the Court,
19
20
     Dated:    October 28, 2010
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